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                  EXHIBIT A
    January 29, 2024 - Email Exchange between
           Ben Perkins and Cary Ichter
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From: Ben Perkins <bperkins@olivermaner.com>
Sent: Monday, January 29, 2024 4:02 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Cary,
I believe this is the first time those documents have been mentioned since the privilege log was served on January 3. Is
that correct? If so, I don’t believe we would have had a reason to reevaluate the privilege assertion as to those
documents.


Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Monday, January 29, 2024 3:07 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
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Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Ben: From what I can tell, these are all the list documents on which Mr. Dial was copied for
which privilege was claim that have not been addressed:

xREL0000009758
xREL0000009874
xREL0000066837
xREL0000066859
xREL0000069112
xREL0000068604
xREL0000068638
xREL0000068642
xREL0000068776
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xREL0000071160
xREL0000071219
xREL0000071225
xREL0000072573
xREL0000072582
xREL0000071323
xREL0000071492
xREL0000074286
xREL0000071709
xREL0000071786
xREL0000072218
xREL0000074756.0002
xREL0000081145
xREL0000080987
xREL0000081419.0001
xREL0000081601.0002

Have they been reviewed as well to determine if CCBOER wants to produce the
documents. Cary


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cichter@IchterDavis.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Monday, January 29, 2024 1:19 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
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Cary,
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I believe you are referring to my comments about xREL000064575 and 64583. Those documents were produced and
deleted from the privilege log. See my January 17 email. We also produced the open records request at issue for 74286
(see my 1/11/24 email from 8:17 p.m.).
I believe the foregoing productions resolved any issues regarding documents on which Mr. Dial is copied, but if you feel I
am mistaken, please give me a call to discuss.

Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Monday, January 29, 2024 12:02 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
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Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
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<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Ben: You indicated you were prepared to confer further re production of documents on which
Mr. Dial is copied. What is the County prepared to propose? Cary
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